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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: )
) Case No. 01-01139 (JKF)
W.R. GRACE & CO., et al., ) Jointly Administered
)
Debtor. ) Chapter 11
)
)

ORDER GRANTING INTERCAT, INC.’S
MOTION FOR LEAVE TO FILE A LATE PROOF OF CLAIM
THIS matter coming before the Court on the Motion of Intercat, Inc. (“Intercat’’)
pursuant to 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 9006(b)(1) for leave to file a late proof of
claim (the “Motion”); and the Court having reviewed the Motion and all other pleadings related
thereto, and otherwise being fully advised in the premises of the Motion; and the Court having
found that (i) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§157 and 1334,
(ii) this is a core matter pursuant to 28 U.S.C. § 157(b), (iii) Notice of the Motion was sufficient
under the circumstances, and (iv) good cause exists to grant the relief requested by the Motion;
now, therefore, for the reasons more fully set forth in the record of the hearing on the Motion,
IT IS HEREBY ORDERED THAT:
1. The Motion is GRANTED; and
2. Intercat is hereby allowed thirty (30) days from the date of this Order to
file a proof of claim with the Clerk of the Bankruptcy Court, which claim shall be deemed timely
filed notwithstanding the Bar Date of March 31, 2003, previously set by this Court for Non-

Asbestos Claims.

Signed this day of , 2004.

UNITED STATES BANKRUPTCY JUDGE

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